            Case 3:23-cv-00080-DCG Document 17 Filed 04/24/23 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT FOR
                          THE WESTERN DISTRICT OF TEXAS EL PASO
                                         DIVISION
STEPHANIE STOUT,
Plaintiff,
                                               Civil action no.: 3:23-cv-00080-DCG
v.

ACCOUNT RESOLUTION SERVICES,
LLC, ET AL
 Defendants.
              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
          AS TO DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.

TO THE HONORABLE JUDGE:

       COMES NOW, Plaintiff STEPHANIE STOUT (“Plaintiff”), Pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(i), by and through her undersigned counsel, hereby voluntarily dismisses

with prejudice Defendant Experian Information Solutions, Inc. (“Experian”) from this action. There

are no longer any issues in this matter between Plaintiff and Defendant Experian to be determined by

this Court. This notice does not affect the other Defendants in the above styled action.

DATED: April 24, 2023                                        Respectfully Submitted,


                                                       /s/    Allen Robertson
                                                               SHAWN JAFFER
                                                     SB 24107817 S.D. TEX. BAR NO. 3269218
                                                           ALLEN ROBERTSON
                                                                SB 24076655
                                                              ROBERT LEACH
                                                    SB 24103582 S.D. TEX. BAR NO. 3675312
                                                        SHAKERIA NORTHCROSS
                                                                SB 24116836
                                                        JAFFER & ASSOCIATES, PLLC
                                                             5757 ALPHA RD SUITE 580
                                                               DALLAS, TX 75240
                                                        (T)                 F)
                                                   (E)ALLEN@JAFFER.LAW ATTORNEYS@JAFFER.LAW
                                                         ATTORNEYS FOR PLAINTIFF
                                                                                           1 | P age
             Case 3:23-cv-00080-DCG Document 17 Filed 04/24/23 Page 2 of 2




                                  CERTIFICATE OF SERVICE


       The undersigned certifies that a true and correct copy of the foregoing was electronically filed

and served via CM/ECF upon the following, in accordance with the Federal Rules of Civil Procedure

on April 24, 2023.

                                                      /s/ Allen Robertson
                                                      Allen Robertson




                                                                                          2 | P age
